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 1   JOHN P. PANNETON (SBN 153915)
     PANNETON LAW CORPORATION
 2   200 Stillwater Place
     Lincoln, CA 95648
 3   Telephone: 916.996.2821
     Facsimile: 916 253.9603
 4   Email:     jpanneton@gmail.com
 5   Attorney for Defendant
     ALY BHAMANI
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 8                                UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:10-cr-00327-TLN

12                  Plaintiff,                            STIPULATION AND ORDER TO
                                                          CONTINUE SENTENCING FROM MAY
13          v.                                            14, 2015 TO JUNE 18, 2015

14   ALY BHAMANI, et al.,

15                  Defendants.

16

17                                            STIPULATION

18          Defendant Aly Bhamani is currently set for sentencing on May 14, 2015, having pled

19   guilty pursuant to a written Plea Agreement. The United States of America, by and through

20   Assistant United States Attorney Michele M. Beckwith, and Aly Bhamani by and through his

21   counsel, John Panneton, together respectfully request that the Court continue that hearing to June

22   18, 2015, at 9:30 a.m., for the following reasons:

23          The parties have consistently agreed that coordination of the sentences of brothers Zain

24   and Aly Bhamani would be appropriate. The parties have also agreed that Zain and Aly Bhamani

25   should be sentenced after their father, Akbar Bhamani, who is now scheduled for sentencing on

26   June 11, 2015. Last week, Zain Bhamani’s sentence was set for June 18, 2015 after a request for

27   a continuance by Probation Officer Lynda Moore. The Probation Officer for Aly Bhamani,

28   Ronnie Preap, concurs with this continuance and is available for sentencing on June 18, 2015.

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                          STIPULATION AND ORDER TO CONTINUE SENTENCING
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 1         The parties have further stipulated to following proposed sentencing schedule:
 2         Judgment and Sentencing Date:                       June 18, 2015 at 9:30 a.m.
 3         Reply, or Statement of Non-Opposition:              June 11, 2015
 4         Motion for Correction of the Presentence
           Report shall be filed with the Court and served
 5         on the Probation Officer and opposing counsel
           no later than:                                      June 4, 2015
 6
           The Presentence Report shall be filed with the
 7         Court and disclosed to counsel no later than:       May 28, 2015
 8         Counsel's written objections to the Presentence
           Report shall be delivered to the Probation
 9         Officer and opposing counsel no later than:         May 21, 2015
10         The proposed Presentence Report shall be
           disclosed to counsel no later than:                 completed
11

12         IT IS SO STIPULATED.
13   Dated: April 28, 2015
                                         By:/s/ MICHELE M. BECKWITH (authorized (4/28/15)
14                                              MICHELE M. BECKWITH
                                                Assistant U.S. Attorney
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16
     Dated: April 28 2015
17                                       By:    /s/ JOHN P. PANNETON
                                                JOHN P. PANNETON
18                                              Attorney for Aly Bhamani

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 1                               ORDER GRANTING CONTINUANCE
 2          The Court has reviewed the Stipulation of the parties to continue Aly Bhamani’s
 3   sentencing date to June 18, 2015 at 9:30 a.m. Based on such documentation, the Court finds good
 4   cause to continue the sentencing date of Aly Bhamani from May 14, 2015 to June 18, 2015. All
 5   other dates related to the sentencing shall be extended accordingly.
 6          PURSUANT TO STIPULATION, IT IS SO ORDERED.
 7   Dated: April 28, 2015
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10                                                   Troy L. Nunley
                                                     United States District Judge
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                          STIPULATION AND ORDER TO CONTINUE SENTENCING
